         Case 3:15-cv-02311-MMA-NLS Document 1 Filed 10/14/15 PageID.1 Page 1 of 10




    1
         PRICE LAW GROUP, APC
         L Tegan Hurst
    2    15760 Ventura Boulevard, Suite 1100
    3    Encino, California 91436
         Telephone: 866.775.3515
    4
         Facsimile: 818.205.3730
    5    tegan@pricelawgroup.com
    6
         Attorney for Plaintiff
    7    EMILY C. SULLIVAN
    8

    9                           DISTRICT COURT OF CALIFORNIA
    10                              IN THE SOUTHERN DISTRICT
    11

    12   EMILY C. SULLIVAN,                                Case No.: '15CV2311 MMA NLS

    13                         Plaintiff,                  COMPLAINT AND DEMAND FOR
                                                           JURY TRIAL
    14
         vs.
                                                           (Unlawful Debt Collection Practices)
    15
         LOAN ME, a corporation;
    16   and DOES 1 to 10, inclusive,                      Demand Does Not Exceed $10,000

    17                         Defendant(s).
    18

    19                               COMPLAINT FOR DAMAGES
    20                                      I.      INTRODUCTION
    21          1.      Emily C. Sullivan (“Plaintiff”) bring this action against Loan Me (“Defendant”)
    22   for violations of the Rosenthal Fair Debt Collection Practices Act (“RFDCPA”), CAL. CIV.
    23   CODE § 1788, which prohibits debt collectors from engaging in abusive, deceptive and unfair
    24   practices in connection with the collection of consumer debts, for violations of the Electronic
1




    25   Funds Transfer Act (“EFTA”), 15 USC §1693 et seq., which protects consumers when they use
    26   electronic means to manage their finances, and for violations of the Telephone Consumer
    27   Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that broadly regulates
    28
                                                          -1-
                                                 COMPLAINT FOR DAMAGES
         Case 3:15-cv-02311-MMA-NLS Document 1 Filed 10/14/15 PageID.2 Page 2 of 10




    1    the use of automated telephone equipment. Among other things, the TCPA prohibits certain
    2    unsolicited marketing calls, restricts the use of automatic dialers or prerecorded messages, and
    3    delegates rulemaking authority to the Federal Communications Commission (“FCC”)
    4

    5                                       II.      JURISDICTION
    6             2.    Venue and personal jurisdiction in this District are proper because Plaintiff
    7    resides in this District, Defendant’s collection communications were received by Plaintiff
    8    within this District and Defendant does or transacts business within this District.
    9             3.    Jurisdiction of this court arises pursuant to 15 U.S.C. §1693m(g), which states
    10   that such actions may be brought and heard before “any United States district court…within
    11   one year from the date of the occurrence of the violation,” as well as under 47 U.S.C. § 227 et
    12   seq. and 28 U.S.C. 1331.
    13

    14                                            III.   PARTIES
    15            4.    Plaintiff is a natural person residing Oceanside, San Diego County, California
    16   92054.
    17            5.    Plaintiff is a natural person from whom a debt collector seeks to collect a
    18   consumer debt which is due and owing or alleged to be due and owing from such person.
    19   Thus, Plaintiff is a “debtor” as defined by the RFDCPA, CAL. CIV. CODE § 1788.2(h).
    20            6.    Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §1693a(6).
    21            7.    Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. §1692a(5).
    22            8.    In the ordinary course of business, regularly, Defendant extends credit creating
    23   a debt or to whom a debt is owed. Thus, Defendant is a "creditor" as defined by the RFDCPA,
    24   CAL. CIV. CODE § 1788.2(c) as well as 15 U.S.C. §1692a(4). Defendant regularly engages in
1




    25   the extension of debt in several states, including California.
    26            9.    Within the last year, Defendant attempted to collect a consumer debt from
    27   Plaintiff. Defendant engaged in “debt collection” as defined by the RFDCPA, Cal. Civ Code
    28   §1788.2(b).
                                                      -2-
                                             COMPLAINT FOR DAMAGES
         Case 3:15-cv-02311-MMA-NLS Document 1 Filed 10/14/15 PageID.3 Page 3 of 10




    1           10.     Defendant is located in Anaheim, Orange County, CA and can be served by its
    2    registered agent, National Registered Agents, Inc. at 818 W. Seventh St. Suite 930 Los
    3    Angeles, CA 90017.
    4           11.     Defendant’s business includes, but is not limited to, collecting on unpaid,
    5    outstanding account balances.
    6           12.     Defendant assigns unpaid, outstanding accounts an account number.
    7           13.     Defendant sent bills, statements, and/or other correspondence, via the mail
    8    and/or electronic mail, and initiated contact with alleged debtors via various means of
    9    telecommunication, such as by telephone and facsimile.
    10          14.     Defendant acted through its agents, employees, officers, members, directors,
    11   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
    12   insurers.
    13          15.     The true names and capacities, whether individual, corporate, or in any other
    14   form, of Defendants DOES 1 through 10, inclusive, and each of them, are unknown to
    15   Plaintiff, who therefore sues them by such fictitious names. Plaintiff will seek leave to amend
    16   this Complaint to show the true names and capacities of DOES 1 through 10 should they be
    17   discovered.
    18

    19                              IV.     FACTUAL ALLEGATIONS
    20          16.     Defendant is attempting to collect an alleged consumer debt from Plaintiff.
    21          17.     Plaintiff’s alleged debt is money, property or their equivalent, due or owing or
    22   alleged to be due or owing from a natural person by reason of a consumer credit transaction,
    23   which qualifies as "consumer debt," as defined by RFDCPA, CAL. CIV. CODE § 1788.2(f).
    24          18.     From August 2015 through September 2015, Defendant repeatedly attempted to
1




    25   withdraw, or did withdraw funds from Plaintiff’s bank account, after Plaintiff requested
    26   Defendant cease doing so.
    27          19.     Plaintiff contacted Defendant numerous times by telephone and via email to
    28   resolve the issue, including but not limited to September 4, 2015; September 8, 2015; and
                                                      -3-
                                             COMPLAINT FOR DAMAGES
         Case 3:15-cv-02311-MMA-NLS Document 1 Filed 10/14/15 PageID.4 Page 4 of 10




    1    September 11, 2015, but Defendant continued to attempt to withdraw money from Plaintiff’s
    2    bank account, causing Plaintiff to be charged with numerous overdraft fees.
    3            20.    All withdrawals were from Plaintiff’s personal checking account.
    4            21.    If Plaintiff had ever provided Defendant with written authorization to authorize
    5    the automatic payment in prior transactions, Plaintiff revoked such authorization repeatedly, on
    6    several occasions.
    7            22.    To date, Defendant has withdrawn approximately $351.09 from Plaintiff’s
    8    personal checking account, and has caused additional overdraft fees to be charged against the
    9    account.
    10           23.    Between the dates of September 3, 2015 and September 17, 2015, Defendant
    11   caused Plaintiff’s cellular telephone number (760) 445-7121 to ring repeatedly or continuously
    12   with the intent to annoy, abuse, or harass any person at the called number.
    13           24.    Between the dates of September 3, 2015 and September 17, 2015, Defendant
    14   caused Plaintiff’s cellular telephone to ring approximately eight (8) times, calling from
    15   telephone numbers (760) 230-4983; (323) 652-4618; (408) 329-1395; (562) 217-4568; and
    16   (844) 774-7368.
    17           25.    Upon information and belief, the telephone numbers (760) 230-4983; (323) 652-
    18   4618; (408) 329-1395; (562) 217-4568; and (844) 774-7368 belong to Defendant.
    19           26.    Upon Information and belief, Defendant did not have express written consent to
    20   contact Plaintiff on her cellular telephone number (760) 445-7121.
    21           27.    However, despite not having express consent to contact her on her personal
    22   cellular telephone or work telephone, Plaintiff answered the phones and instructed Defendant to
    23   cease all communications with Plaintiff.
    24           28.    When Plaintiff answered the collection call, Plaintiff heard a pause before the
1




    25   agent began to speak, indicating that the calls originated from a computer system.
    26           29.    The purpose of the repeated phone calls was an attempt to collect an alleged
    27   debt.
    28           30.    Defendant is familiar with the FDCPA and RFDCPA.
                                                     -4-
                                            COMPLAINT FOR DAMAGES
         Case 3:15-cv-02311-MMA-NLS Document 1 Filed 10/14/15 PageID.5 Page 5 of 10




    1           31.        Defendant’s conduct as described above was intended to harass, coerce, and
    2    intimidate Plaintiff into payment of the alleged debt, or to increase the amount Plaintiff was
    3    willing to pay.
    4           32.        Defendant’s conduct as described in detail above amounts to a false, deceptive
    5    or misleading representation or means in connection with collection of the alleged debt.
    6           33.        Defendant’s conduct as described in detail above amounted to an unfair or
    7    unconscionable means to collect or attempt to collect the alleged debt.
    8

    9                                      V.     CAUSE OF ACTION
    10

    11                                                COUNT I
    12                DEFENDANT VIOLATED THE ELECTRONIC FUND
    13                                       TRANSFER ACT
    14          34.        Plaintiff incorporates herein by reference all of the above paragraphs of
    15   this complaint as though fully set forth herein at length.
    16          35.        Section 907(a) of the EFTA, 15 U.S.C. §1693(a), provides that a
    17   “preauthorized electronic fund transfer from a consumer’s account may be authorized
    18   by the consumer only in writing and a copy of such authorization shall be provided to
    19   the consumer when made.”
    20
                36.        Section 903(9) of the EFTA, 15 U.S.C. § 1693a(9), provides that the term
    21
         “preauthorized electronic fund transfer” means “an electronic fund transfer authorized in
    22

    23
         advance to recur at substantially regular intervals.”

    24
                37.        Section 205.l0(b) of Regulation E, 12 C.F.R. § 205.l0(b), provides that “[p
1




    25
         ]reauthorized electronic fund transfers from a consumer's account may be authorized only by a
    26

    27   writing signed or similarly authenticated by the consumer. The person that obtains the

    28   authorization shall provide a copy to the consumer.”
                                                         -5-
                                                COMPLAINT FOR DAMAGES
         Case 3:15-cv-02311-MMA-NLS Document 1 Filed 10/14/15 PageID.6 Page 6 of 10



                38.     Section 205.10(b) of the Federal Reserve Board's Official Staff Commentary to
    1

    2    Regulation E, 12 C.F.R. § 205.l0(b), Supp. I, provides that “[t]he authorization process should

    3    evidence the consumer’s identity and assent to the authorization.” Id. at ¶10(b), comment 5.
    4
         The Official Staff Commentary further provides that “[a]n authorization is valid if it is readily
    5
         identifiable as such and the terms of the preauthorized transfer are clear and readily
    6

    7    understandable.” Id. at ¶10(b), comment 6.

    8
                39.     Defendant continued to debit Plaintiff’s checking account on a recurring basis
    9
         after receiving notification from Plaintiff revoking any prior authorization, without obtaining a
    10

    11   written authorization signed or similarly authenticated from Plaintiff for preauthorized
    12   electronic fund transfers from Plaintiff’s account, thereby violating Section 907(a) of the
    13
         EFTA, 15 U.S.C. § 1693e(a), and Section 205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).
    14

    15          40.     Defendant debited Plaintiff’s checking account on a recurring basis after
    16
         receiving notification from Plaintiff revoking any prior authorization, without providing to
    17
         Plaintiff a copy of a written authorization signed or similarly authenticated by Plaintiff for
    18

    19
         preauthorized electronic fund transfers from Plaintiff’s account, thereby violating Section

    20   907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section 205.10(b) of Regulation E, 12 C.F.R. §
    21   205.l0(b).
    22
         //
    23
         //
    24
1




    25   //

    26   //
    27
         //
    28
                                                      -6-
                                             COMPLAINT FOR DAMAGES
         Case 3:15-cv-02311-MMA-NLS Document 1 Filed 10/14/15 PageID.7 Page 7 of 10




    1                                              COUNT II
    2

    3             DEFENDANT VIOLATED THE TELEPHONE CONSUMER
    4                      PROTECTION ACT (“TCPA”), 47 U.S.C. § 227
    5           41.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint
    6    as though fully stated herein.
    7           42.     Defendant violated the TCPA. Defendant’s violations include, but are not
    8    limited to the following:
    9           (a)     Within four years prior to the filing of this action, on multiple occasions,
    10          Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in pertinent part,
    11          “It shall be unlawful for any person within the United States . . . to make any call (other
    12          than a call made for emergency purposes or made with the prior express consent of the
    13          called party) using any automatic telephone dialing system or an artificial or
    14          prerecorded voice — to any telephone number assigned to a . . . cellular telephone
    15          service . . . or any service for which the called party is charged for the call.
    16          (b)     Within four years prior to the filing of this action, on multiple occasions
    17          Defendant willfully and/or knowingly contacted Plaintiff at Plaintiff’s cellular
    18          telephone using an artificial prerecorded voice or an automatic telephone dialing system
    19          and as such, Defendant knowingly and/or willfully violated the TCPA.
    20          43.     As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled to
    21   an award of five hundred dollars ($500.00) in statutory damages, for each and every violation,
    22   pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that Defendant knowingly and/or
    23   willfully violated the TCPA, Plaintiff is entitled to an award of one thousand five hundred
    24   dollars ($1,500.00), for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
1




    25   U.S.C. § 227(b)(3)(C).
    26   //
    27   //
    28   //
                                                      -7-
                                             COMPLAINT FOR DAMAGES
         Case 3:15-cv-02311-MMA-NLS Document 1 Filed 10/14/15 PageID.8 Page 8 of 10




    1                                              COUNT III
    2                         DEFENDANT VIOLATED THE ROSENTHAL
    3         FAIR DEBT COLLECTION PRACTES ACT, CAL. CIV. CODE § 1788
    4            44.    Plaintiff incorporates herein by reference all of the above paragraphs of this
    5    complaint as though fully set forth herein at length.
    6            45.    Defendant violated the RFDCPA. Defendant’s violations include, but are not
    7    limited to, the following:
    8            (a)    Defendant violated CAL. CIV. CODE § 1788.17 by collecting or attempting to
    9    collect a consumer debt without complying with the provisions of Sections 1692b to 1692j,
    10   inclusive, of . . . Title 15 of the United States Code (Fair Debt Collection Practices Act).
    11                  (i)     Defendant violated CAL. CIV. CODE § 1788.17 by violating 15 U.S.C. §
    12   1692d by engaging in conduct, the natural consequence of which is to harass, oppress or abuse
    13   any person in connection with the collection of the alleged debt; and
    14                  (ii)    Defendant violated CAL. CIV. CODE § 1788.17 by violating 15 U.S.C. §
    15   1692d(5) by causing Plaintiff’s phone to ring or engaging Plaintiff in telephone conversations
    16   repeatedly; and
    17                  (iii)   Defendant violated CAL. CIV. CODE § 1788.17 by violating 15 U.S.C. §
    18   1692e by using false, deceptive, or misleading representation or means in connection with the
    19   collection of the alleged debt; and
    20                  (iv)    Defendant violated CAL. CIV. CODE § 1788.17 by violating 15 U.S.C. §
    21   1692e(10) by using false representation or deceptive means to collect a debt or obtain
    22   information about a consumer; and
    23                  (v)     Defendant violated CAL. CIV. CODE § 1788.17 by violating 15 U.S.C. §
    24   1692f by using unfair or unconscionable means in connection with the collection of an alleged
1




    25   debt.
    26           46.    Defendant’s acts, as described above, were done intentionally with the purpose
    27   of coercing Plaintiff to pay the alleged debt.
    28   //
                                                        -8-
                                               COMPLAINT FOR DAMAGES
         Case 3:15-cv-02311-MMA-NLS Document 1 Filed 10/14/15 PageID.9 Page 9 of 10




    1           47.     As a result of the foregoing violations of the RFDCPA, Defendant is
    2    liable to Plaintiff for declaratory judgment that Defendant’s conduct violated the
    3    RFDCPA, actual damages, statutory damages, and attorney’s fees and costs.
    4

    5                                 VI.       PRAYER FOR RELIEF
    6
                WHEREFORE, Plaintiff Emily Sullivan respectfully requests that judgment be entered
    7

    8    against Defendant for the following:

    9           (a)     Actual damages pursuant to CAL. CIV. CODE § 1788.30(a); and
    10
                (b)     Statutory damages pursuant to CAL. CIV. CODE § 1788.30(b); and
    11
                (c)     Costs and reasonable attorney’s fees pursuant to CAL. CIV. CODE §
    12
                        1788.30(c); and pursuant to the Electronic Fund Transfer Act,
    13
                        §916(a)(3); and
    14

    15          (d)     Actual damages pursuant to the Electronic Fund Transfer Act, §916(a)(1);

    16          (e)     Statutory damages of $1,000.00 pursuant to the Electronic Fund

    17                  Transfer Act, §916(a)(2)(A);
    18          (f)     Statutory Damages of $1,000.00 pursuant to 15 U.S.C. 1692k; and
    19          (g)     Actual Damages pursuant to 15 U.S.C. 1692k(a)(1); and
    20          (h)     Statutory Damages pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
    21
                        227(b)(3)(C); and
    22
                (i)     Awarding Plaintiff any pre-judgment and post-judgment interest as
    23
                        may be allowed under the law; and
    24
                (j)     For such other and further relief as the Court may deem just and
1




    25

    26                  proper.

    27   //

    28   //
                                                     -9-
                                            COMPLAINT FOR DAMAGES
         Case 3:15-cv-02311-MMA-NLS Document 1 Filed 10/14/15 PageID.10 Page 10 of 10




    1                              VII. DEMAND FOR JURY TRIAL
    2          Please take notice that Plaintiff demands a trial by jury in this action.
    3

    4                                                 RESPECTFULLY SUBMITTED,
    5    Dated: October 14, 2015                      PRICE LAW GROUP, APC
    6

    7
                                                      By: _/s/ L Tegan Hurst_____________
    8
                                                              L Tegan Hurst
    9                                                         Attorney for Plaintiff
                                                              Emily C. Sullivan
    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24
1




    25

    26

    27

    28
                                                     - 10 -
                                            COMPLAINT FOR DAMAGES
